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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MARYLAND

JEROME DUVALL, et al.,                                 *
        Plaintiffs,                                    *
v.                                                     *   Civil Action No. ELH-94-2541
LAWRENCE HOGAN, et al.,                                *
        Defendants.                                    *
******************************************************************************
                   STIPULATION AND [PROPOSED] ORDER
******************************************************************************

Plaintiffs and Defendants, through their respective counsel, agree and stipulate as follows:

1. The Effective Date of the Settlement Agreement in this case (ECF 541-2) is June 28, 2016.

     See id., ¶ 6; ECF 577 (order approving Settlement Agreement, dated June 28, 2016).

2. Paragraph 47 of the Settlement Agreement provides in pertinent part:

                      c. Plaintiffs shall be entitled to reasonable fees and costs for monitoring
                      compliance with the substantive provisions of this Settlement Agreement in an
                      amount not to exceed $30,000 per year in the first and fourth years following
                      the Effective Date and $20,000 per year in the second and third years following
                      the Effective Date.

3. The fourth year following the Effective Date of the Settlement Agreement ended on June 28,

     2020.

4. On May 17, 2022, the Court extended the expiration date of the Settlement Agreement to June

     30, 2024. ECF 764 at 2.

5. In light of the Court’s extension of the expiration date of the Settlement Agreement, the parties

     agree that Plaintiffs shall be entitled to reasonable fees and costs for monitoring compliance

     with the substantive provisions of this Settlement Agreement in an amount not to exceed

     $20,000 per year in the fifth, sixth, and seventh years following the Effective Date, and $30,000




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   per year in the eighth year following the Effective Date. All other provisions of the Settlement

   Agreement pertaining to fees and costs shall remain unchanged.



Agreed and stipulated this 24th day of January, 2023.

                                                    Respectfully submitted,

  /s/ Laura Mullally                                /s/ David C. Fathi
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                                                    Counsel for Plaintiffs




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IT IS SO ORDERED.



______________________________
Hon. Ellen Lipton Hollander
United States District Judge


January ____, 2023.




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